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EXHIBIT “K”
Case 2:10-md-02179-CJB-DPC Document 11734-12 Filed 10/25/13 Page 2 of 4

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Claimant Signature

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Claimant Name Elton Johnson Claimant Number 3495033
Sieat Cy Sia s-
Address 728 Hwy 3041 Bunkie LA 71322
Claimant Type saat
{Individual or Business) Individual
oe SS PERE ENTORe = oe :
a The GCCF has no information that this Claimant is represented by an attorney.
x The GCCF has been informed that this Claimant is represented by the following attorney:
Attorney Name Kurt Amold | Law Firm | Amold & Itkin LLP
Sieet iy Sate ap
Address 1401 McKinney
Street, Suite 2550

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Sa ETeN Ciacci
CAGCERL EIN:
SNe

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_ (Month Day/¥eary

Name of Person Signing
(Print os Type)

Elbu Jo mae

You can send this Election Form to elect to be paid this Final Payment Offer using any of the following ways:

By Emailed PDF Attachment:

(Completed no later than midnight your
time for your deadline to elect)

1. | Emailed no later than midnight your Email to NoticesandOffers@gecf-claims.com
time on your deadline to respond)
Gulf Coast Claims Facility
By Mail: Kenneth R. Feinberg, Administrator
2. | (Postmarked no later than your deadline
to respond) P.O. Box 9658
Dublin, OH 43017-4958
By Overnight, Certified or Gulf Coast Claims Facility
3, | Registered Mail: Kenneth R. Feinberg, Administrator
* | (Placed with the delivery service no later | 5151 Blazer Pkwy., Suite A
than your deadline to respond) Dublin, OH 43017-4958
4. | By Facsimile:
(Sent no later than your deadline to 1-866-682-1772
respond) .
. . You can bring the materials to a GCCF Site Office no later than your deadline.-
5, re a ay _| Visit wow.culfooastelaimsfacility.com to see a list of Site Offices, or call 1-800-
, a 916-4893 and ask for Site Office locations.
Online Election of Final You can accept your Final Payment Offer electronically by visiting the GCCF
6, | Payment Offer: website at www.guifcoastclaimsfacility.com and accessing your claim status by

clicking on the “Check Claim Status” tab.

Certified Document Number: 51495557 - Page 5 of 7

Gulf Coast Claims Facility
Page 4 of 6

Claimant ID: 3495033
Certified Document Number: 51495557 - Page 6 of 7

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* Case 4:12-cv-00989 Document 1-8 Filed in TXSD on 03/30/12 Page 14 of 16

Claimant Nar ame Elton Johnson

Sirest ;
Address 728 Hwy 3041 Bunkie ‘ LA 71322
Claimant Type Individual

oes or Business)

ON FOR RERVALUATION OF Cla

I request a Re-Review of my Physical Injury Determination Letter and understand that my payment
calculations could potentially change or remain the same.

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You must complete Sections C.1 and C.2 below to identify the reason(s) for your Re-Review request and any new
documentation submitted to support your claim. Describe in detail each aspect of the Determination Letter with
which you disagree and want reevaluated. You may attach additional sheets, if necessary.

C.1_ Explain the reason(s) for your Re-Review request and explain why you disagree with the Determination Letter.

C.2 Identify any new or previously submitted documents that support the Re-Review request. You must ensure that
any new documents are submitted to the GCCF with this Re-Review Election Form,

,

Claimant Signature : (Month/Day/Year)

Name of Person Signing
(Print or Type)

_ Gulf Coast Claims Facility Claimant ID: 3495033
Page 5 of 6
“ Certified Document Number: 51495557 - Page 7 of 7

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By Emailed PDF Attachment:

cof-claims.com

1. | (Emailed no later than midnight your time on | Email to NoticesandOffers

your deadline to respond)

= Gulf Coast Claims Facility

yeNiails Kenneth R. Feinberg, Administrator
2. | (Postmarked no later than your

deadline t d) P.O. Box 9658

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3. | (Placed with the delivery service .
later th ur deadline t 5151 Blazer Pkwy., Suite A

—————E— Dublin, OH 43017-4958

respond)

By Facsimile:
4, | (Sent no later than your deadline | 1-866-682-1772

to respond)

Visit a GCCF Site Office: ‘You can bring the materials to a GCCF Site Office no later than your deadline.
5. | (No later than your deadline to Visit www.gulfcoastclaimsfacility.com to see a list of Site Offices, or call 1-800-

respond} 916-4893 and ask for Site Office locations.

une Biection fore & Review You can submit this Re-Review Election Form electronically by visiting the
6.4, Request: (Done no later ‘than GCCF website at www.GulfCoastClaimsFacility.com and accessing your claim

“midnight your time for your

deadline to elect)

status by clicking on the “Check Claim Status” tab.

Gulf Coast Claims Facility Claimant ID: 3495033

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